                              GrayKey Progress Report
Evidence ID: 281D-CE-3749381_1B58_MDUS43334
GrayKey Serial Number: 19e47dd5d481081c
GrayKey Software: OS Version: 1.16.2.25412300, App Bundle: 3.23.0.25481640
Report generation time: 2023-08-24 23:25:07 UTC


Target Device Information
Device Name                  iPhone (2)
Software Version             16.5.1 [20F75]
Model                        iPhone 12 Pro Max [iPhone13,4 D54pAP]
Unique Device ID (UDID)      00008101-001A5D380A86001E
Serial Number                G6TF14830D40
Unique Chip ID (ECID)        7420844670582814
ESN                          01b5371277b788a6
WiFi MAC Address             cc:c9:5d:e8:8a:df
Bluetooth MAC Address        cc:c9:5d:f1:a5:91
Phone Number                 15616603482
IMEI                         350002264400583
IMEI(2)                      350002264388820
Data Partition Size          101.31GB (108782759936 bytes)
Lock State                   After First Unlock
Agent Version                3.23.0
Backup State                 iCloud Backup, Last Backup Date: Never
Owner Name                   Rem Dem
Accounts                     remdem9@icloud.com




Event Log
2023-08-24 21:30:38 UTC: Initial access started.
2023-08-24 21:35:36 UTC: Initial access succeeded.
2023-08-24 21:35:38 UTC: On-device agent started. Device Time: 2023-08-24 16:23:28 -04:00
 Device Boot Time: 2023-07-26 23:33:57 -04:00 OS Version: 1.16.2.25412300 AL Version: 3.23.0.25481640
2023-08-24 21:35:38 UTC: Connected to on-device agent.
2023-08-24 21:36:32 UTC: Manual data extraction requested.
2023-08-24 21:36:32 UTC: Keychain extraction started.
2023-08-24 21:36:38 UTC: Keychain extraction complete. Result: Success
2023-08-24 21:36:38 UTC: Filesystem extraction started.
2023-08-24 21:37:01 UTC: Progress report generated.
2023-08-24 21:37:18 UTC: Progress report generated.
2023-08-24 23:23:13 UTC: Filesystem extraction complete. Result: Success
2023-08-24 23:23:18 UTC: On-device agent uninstalled.
2023-08-24 23:25:07 UTC: Progress report generated.
2023-08-24 23:29:11 UTC: Progress report generated.




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Extraction Result Summary
Instant AFU Filesystem   2023-08-24 23:24:04.750004 UTC
Extraction size          117.63GB (126303028767 bytes)
SHA256                   ff774557546b08481f7dc42c050f51a7fc6cef650af431dd3d9b56f53ed94025
MD5                      5f1c6d624a779afc6877d3c1c96368a9


Keychain                 98 Keys, 9 Certificates, 105 Internet passwords, 1278 General passwords
SHA256                   18a02f7a47937a44351323cd818b8123d714f076d30c0a79fb876fd9aabaf5fb
MD5                      685abe6375ba04b498c9eb74e55b0876




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